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                                 United States District Court
                                   SOUTHERN DISTRICT OF CALIFORNIA

                            NOTICE OF DOCUMENT DISCREPANCY

TO: ☒ U.S. DISTRICT JUDGE / ☐ U.S. MAGISTRATE JUDGE: The Hon. Dana M. Sabraw
 FROM: J. Mueller, Deputy Clerk                      RECEIVED DATE: November 2, 2018
                                                     DOC FILED BY: Emma Elizabeth Gonzalez
 CASE NO. 3:18-cv-00428-DMS-MDD                      Barrientos
 CASE TITLE: Ms. L. v. U.S. Immigration and Customs Enforcement et al
 DOCUMENT ENTITLED: Notice re Settlement Agreement

        Upon the submission of the attached document(s), the following discrepancies are noted:


  Civ.L. Rule 5.3 - Document illegible or submitted on thermal facsimile paper;



                                                           Date Forwarded:        November 5, 2018

                   ORDER OF THE JUDGE / MAGISTRATE JUDGE

IT IS HEREBY ORDERED:
 ☒ The document is to be filed nunc pro tunc to date received.
      The document is NOT to be filed. But instead REJECTED, and it is ORDERED that the Clerk
 ☐
      serve a copy of this order on all parties.
Rejected documents to be returned to pro se or inmate? ☐ Yes.  Court copy retained by chambers ☐
          Any further failure to comply with the Local Rules may lead to penalties pursuant to
                           Civil Local Rule 83.1 or Criminal Local Rule 57.1.

Date: November 6, 2018                 CHAMBERS OF: The Honorable Dana M. Sabraw

cc: All Parties                             By:   mm
